Case 2:10-md-02179-CJB-DPC Document 1940-1 Filed 04/13/11 Page 1 of 4

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL * MDL NO. 2179
RIG “DEEPWATER

HORIZON’ in the GULF OF * SECTION : J
MEXICO, on

APRIL 20, 2010 * JUDGE BARBIER
THIS DOCUMENT RELATES *

TO NO. 10-2771

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CASE MANAGEMENT ORDER NO.

(TRIAL PLAN FOR FEBRUARY 27, 2012 PHASE I TRIAL ON LIABILITY,
LIMITATION, EXONERATION, AND FAULT ALLOCATION)

Considering the need for organization of this complex litigation, the Court adopts
the following Case Management Order No. and Trial Plan, which modifies and
supplements Case Management Order No. 1/Pre-Trial Order No. 11 (“CMO No. 1”)
(Rec. Doc. No. 569), and sets forth the following Trial Plan for the February 2012 trial of

liability, limitation, exoneration, and fault allocation (‘‘Trial’’) as follows:

1. The Trial will address the petition of the Transocean Petitioners for relief
under 46 U.S.C. § 30505 with respect to the casualty of the Deepwater
Horizon that occurred in April 2010. The trial will adjudicate the statutory
issues with respect to Petitioners and all claimants in this limitation action.

2. Subject to the terms of the remainder of this Order, the Trial will also

adjudicate the liability of certain parties who are the subject of the
Case 2:10-md-02179-CJB-DPC Document 1940-1 Filed 04/13/11 Page 2 of 4

Transocean Petitioners’ Rule 14(c) tender (“Tendered Defendants’’) to the
following claimants in this action:

(a) Parties asserting claims for property losses to the Deepwater
Horizon rig and its appurtenances, if any;

(b) Selected parties asserting claims for personal injury arising from
the explosion and fire aboard the Deepwater Horizon rig on or
about April 20, 2010; and

(c) Selected parties asserting claims for wrongful death arising from
the explosion and fire aboard the Deepwater Horizon rig on or
about April 20, 2010.

3. Again subject to the remaining provisions of this Order, the Trial will also
address cross-claims for contribution and/or indemnity and/or allocation of
liability among Petitioners and certain Tendered Defendants with respect
to the individual claims identified in paragraph 2.

4, The Plaintiffs’ Steering Committee shall select no more than five
claimants in categories 2(b) and (c) above who are willing to have their
claims fully adjudicated in the limitation action. With respect to those
selected individual claims, liability and allocation of liability as described
in paragraphs 2 and 3 will be adjudicated at the Trial. The quantum of
damage for each selected claimant, however, will be resolved by the Court
pursuant to Admiralty Rule F in a separate proceeding.

5. No later than May 20, 2011, each claimant selected pursuant to paragraph
4 shall file and serve an amended claim pursuant to Admiralty Rule F
specifying that claimant’s individual basis for asserting the liability to that

claimant of any Tendered Defendant from whom the claimant seeks to
Case 2:10-md-02179-CJB-DPC Document 1940-1 Filed 04/13/11 Page 3 of 4

recover. Subject to resolution of dispositive motions before trial, all
Tendered Defendants named in the selected claimants’ amended claims
shall be parties to the Trial along with Petitioners and claimants in this
limitation action.

6. The Court shall resolve the issues raised by Petitioners’ claims under 46
U.S.C. § 30505 at the Trial as expeditiously as possible. To the extent that
any of the claims being asserted in the Trial contain issues to which the
right to trial by jury applies and has been preserved, a jury will be
empaneled and shall resolve those issues. The Court shall resolve all other
issues for which any right to trial by jury has not been preserved by any
party or has been waived by all parties.

7. The parties shall engage in pretrial motion practice to attempt to resolve
certain claims and defenses, and to resolve evidentiary and Daubert issues.

8. Trial will begin on February 27, 2012 at 9:00 AM. It is currently
estimated that this Trial will proceed for approximately three (3) months.

9. Upon further order of the Court, a Pre-Trial Notice will be issued
instructing the parties to the Trial to submit a Joint Pre-Trial Order further
detailing the conduct of trial and presentation of evidence, including the
amount of trial time allocated to each party for the presentation of
evidence, the use of exhibits and demonstrative aids, the use of deposition

testimony, and other evidentiary matters.
Case 2:10-md-02179-CJB-DPC Document 1940-1 Filed 04/13/11 Page 4 of 4

10. A further Order of the Court will also address the procedure[s] for
resolution of the remaining claims and cross-claims asserted in this
limitation proceeding. To the extent permitted under the federal law of
issue preclusion, issues litigated to resolution at the Trial will not be
retried with respect to the other claims in this limitation action.

The provisions of this Order may be modified in the interests of justice,

expedience or judicial economy on the Court’s own motion or by the motion of the

parties for good cause shown.

New Orleans, Louisiana this day of , 2011.

Carl J. Barbier
United States District Judge
